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 7                                  UNITED STATES DISTRICT COURT
 8                           FOR THE EASTERN DISTRICT OF CALIFORNIA
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10                                                      No. 2:18-mj-152-EFB
      IN THE MATTER OF THE
11    EXTRADITION OF OMAR
      ABDULSATAR AMEEN TO THE
12    REPUBLIC OF IRAQ                                  ORDER
13

14          Omar Ameen moves to unseal search warrants, affidavits, and related documents

15   (“motion”). ECF No. 101. The Sacramento Bee (“Bee”) has joined in that motion (ECF No. 105)

16   and the government has filed an opposition thereto (ECF No. 102). For the reasons stated

17   hereafter, the motion is denied.

18                                               Background

19          I.        Ameen’s Position

20          Ameen requests that the court unseal two search warrants and their supporting affidavits

21   which the government has made available to his counsel pursuant to a protective order1 entered in

22   this case. ECF No. 101 at 2. Ameen anticipates filing future pleadings in which he might want to

23   cite, quote, and/or discuss content within those warrant materials.2 Id. at 4. He states that the

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                 The relevant protective order was entered on August 16, 2018. ECF No. 12.
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26            As a practical matter, there are methods by which Ameen may reference the materials
     from the two warrants that his counsel have seen. As discussed at the hearing, the court, having
27   issued the warrants, is in possession of copies of the same. Ameen’s counsel may reference,
     where necessary, to content in the warrants by page and line. The court can then evaluate
28   whether and how that content bears on the question of probable cause.
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 1   government’s position is that the current protective order precludes his counsel from quoting or
 2   discussing the warrants on the record. Id. Thus, he moves to unseal the documents.
 3             Ameen also relies on the general proposition that the public has a strong interest in
 4   monitoring the functions of the courts and government agencies. Id. at 3.
 5             II.    The Government’s Position
 6             For its part, the government argues that the search warrant materials are properly sealed as
 7   part of a separate, pre-indictment criminal investigation. ECF No. 102 at 4. It states that “[t]he
 8   defense is aware of the search warrant materials because the United States provided the search
 9   warrants affidavits to the defense as a courtesy.” Id. at 5. It adds that reference to those warrants
10   in this extradition proceeding would be improper insofar as:
11                    The recitations in the search warrant affidavits relate to violations of
                      Unites States criminal code sections. The allegations in the search
12                    warrant materials contain information obtained from the United
                      States’ criminal investigation of Omar Ameen that are not public,
13                    that are based at least in part on witness statements that are sensitive,
                      and, not least, that are irrelevant to the extradition proceedings.
14

15   Id.
16             III.   The Sacramento Bee’s Position
17             Joining in Ameen’s motion, the Bee argues that the warrant materials at issue should be
18   unsealed because the First Amendment and common law rights of access apply to the materials.
19   In particular, the Bee argues that these warrant materials should no longer remain under seal
20   insofar as they “relate to this proceeding and not a separate, ongoing investigation.” ECF No. 105
21   at 2-3.
22                                                   Analysis
23             As argued by Ameen and the Bee, there is a First Amendment and common law right of
24   access to court filings. However, that right applies to warrant materials only after an
25   investigation has ended and an indictment has been filed. The U.S. Court of Appeals for the
26   Ninth Circuit has held that “the First Amendment does not establish a qualified right of access to
27   search warrant proceedings and materials while a pre-indictment investigation is still ongoing.”
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 1   Times Mirror Co. v. United States, 873 F.2d 1210, 1216 (9th Cir. 1989) 3; see also Kamakana v.
 2   City & County of Honolulu, 447 F.3d 1172, 1178 (noting that warrant materials related to a pre-
 3   indictment investigation fall into the “narrow range of documents not subject to the right of public
 4   access . . . .”). The Bee notes that Ameen has already been arrested and that a complaint for
 5   extradition has been filed and argues that these proceedings are “in substance, a post-investigation
 6   and post-indictment case.” ECF No. 105 at 3. It contends that the extradition filings that
 7   instigated this case are the “functional equivalent of an indictment for the purposes of the First
 8   Amendment analysis . . . .” ECF No. 105 at 3. The court finds these contentions unconvincing
 9   for two reasons.
10           First, although Ameen was arrested and is facing extradition proceedings based on the
11   charges pending in Iraq, search warrants were issued for the independent purpose of investigating
12   possible violations of criminal statutes of the United States. At the March 20, 2019 hearing, the
13   government’s counsel confirmed that investigations related to the warrant materials are, in fact,
14   ongoing. And in its opposition, the government states that the warrant materials pertain to the
15   question – separate from this proceeding – of whether United States criminal code sections were
16   violated. ECF No. 102 at 5. Further, the court, having read the supporting affidavits and issued
17   the warrants in question, notes that the warrants were obtained for the stated purpose of
18   investigating violations of certain specified sections of Title 18 of the United States Code. While
19   there may be some relationship or overlap of the suspected violations of laws of the United States
20   (for which the search warrants were issued) and the charges pending in Iraq, the investigation of
21   violations of United States criminal statutes is separate and independent of the Iraq proceedings.
22   In short, the investigation as to violations of federal criminal statutes continues and is clearly at a
23   preindictment stage and therefore the warrants remain properly under seal. Kamakana v. City &
24   County of Honolulu, 447 F.3d at 1178; Times Mirror Co. v. United States, 873 F.2d at 1216.
25   /////
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             3
27            In the same case, the Ninth Circuit also declined to hold that either the common law or
     Rule 41 of the Federal Rules of Criminal Procedure afforded a qualified right of access to warrant
28   materials. 873 F.2d at 1218-1220.
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 1          Second, a substantial body of case law supports the notion that extradition proceedings,
 2   contrary to the Bee’s contention, are not analogous to a criminal prosecution or indictment. See,
 3   e.g., Charlton v. Kelly, 229 U.S. 447, 459-462 (1913) (“We are not sitting in this court on the trial
 4   of the prisoner, with power to pronounce him guilty and punish him or declare him innocent and
 5   acquit him. We are now engaged simply in an inquiry as to whether . . . there was legal evidence
 6   before the commissioner to justify him in exercising his power to commit the person accused to
 7   custody to await the requisition of the Mexican government.”) (quoting Benson v. McMahon, 127
 8   U.S. 457, 463 (1888)); Bingham v. Bradley, 241 U.S. 511, 517 (1916) (indicating that an
 9   extradition hearing is more akin to a grand jury investigation into the existence of probable
10   cause); Kraiselburd, 786 F.2d at 1399 (“[T]he analogy between this case, an extradition
11   proceeding, and . . . a federal criminal prosecution, is not a compelling one . . .”); Kamrin v.
12   United States, 725 F.2d 1225, 1227-28 (9th Cir. 1984) (holding that, because an extradition
13   proceeding is not a criminal case, the Bail Reform Act of 1984 does govern).
14          The Bee also contends that “[p]ublic access to [the warrant materials] would be harmless
15   . . . because the defense already has them.” ECF No. 105 at 6. This argument is no more
16   persuasive. First, Ameen’s motion indicates that it seeks to unseal not only the warrants his
17   counsel have been shown, but any “additional search warrants in this case” that he has not seen.
18   ECF No. 101 at 2 n.3. Thus, to the extent that other pertinent warrant materials exist – and this
19   order should not be taken to imply as much – their disclosure would not be harmless under the
20   Bee’s logic. Second, the sealed warrant materials disclosed to Ameen’s counsel remain subject to
21   the protective order in this case. This form of limited disclosure is, for obvious reasons, not
22   analogous to unsealing these materials and placing them wholly within the public access.
23                                                Conclusion
24          Consistent with the foregoing, IT IS ORDERED that Ameen’s motion to unseal search
25   warrants, affidavits, and related documents (ECF No. 101) is DENIED.
26   DATED: March 21, 2019.
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